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  6                           UNITED STATES DISTRICT COURT
  7                         CENTRAL DISTRICT OF CALIFORNIA
  8
      ~ UNITED STATES OF AMERICA,
  9
 10                                   Plaintiff,         CASE NO. Z:11-(,,r.~ 3~
 11                          v.
 12                                                      ORDER OF DETENTION
        DaMn.~:~w -~'Ge-{,(ate
 13

 14                                   Defendant.
 15

 16                                                       I.
 17       A.()         On motion ofthe Government in a case allegedly involving:
 18             1. O     a crime of violence.
 19            2.()      an offense with maximum sentence of life imprisonment or death.
 20            3.()      a narcotics or controlled substance offense with maximum sentence
 21                      often or more years .
 22            4.()      any felony -where the defendant has been convicted oftwo or more
 23                      prior offenses described above.
 24            5.()      any felony that is not otherwise a crime of violence that involves a
 25                       minor victim, or possession or use ofa firearm or destructive device
 26                      or any other dangerous weapon, or a failure to register under 18
 27                      U.S.0 § 2250.
 28       B.()         On motion by the Government /( )on Court's own motion, in a case

                                  ORDER OF DETENTION AFTER HEARING(18 U.S.C. §3142(1))

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  1                     allegedly involving:
  2          () On the further allegation by the Government of:
  3            1.(~ a serious risk that the defendant will flee.
  4            2.() a serious risk that the defendant will:
  5                  a.()obstruct or attempt to obstructjustice.
  6                  b.()threaten, injure, or intimidate a prospective witness or juror or
  7                        attempt to do so.
  8       C. The Government()is/(~s not entitled to a rebuttable presumption that no
  9            condition or combination ofconditions will reasonably assure the defendant's
 10            appearance as required and the safety of any person or the community.
 11
 12                                                    II.
 13       A.() The Court finds that no condition or combination of conditions will
 14                    reasonably assure:
 15            1.(~ the appearance ofthe defendant as required.
 16                  () and/or
 17           2.() the safety of any person or the community.
 18       B.() The Court finds that the defendant has not rebutted by sufficient
 19                    evidence to the contrary the presumption provided by statute.
 20

 21                                                    III.
 22       The Court has considered:
 23       A. the nature and circumstances ofthe offenses) charged, including whether the
 24           offense is a crime ofviolence, a Federal crime ofterrorism, or involves a minor
 25           victim or a controlled substance, firearm, explosive, or destructive device;
 26       B. the weight of evidence against the defendant;
 27       C. the history and characteristics ofthe defendant; and
 28       D. the nature and seriousness ofthe danger to any person or to the community.

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  1                                                      IV.
  2       The Court also has considered all the evidence adduced at the hearing and the
  3       arguments         and/or statements of counsel, and                     the     Pretrial   Services
  4       Report/recommendation.
  5

  6                                                       V.
  7       The Court bases the foregoing findings) on the following:
  8       A.(.~ As to flight risk:

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          bWt,u.
 16      B. () As to danger:
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 24                                                      VI.
 25       A. ()          The Court finds that a serious risk exists that the defendant will:
 26                   1. ()obstruct or attempt to obstruct justice.
 27                   2. ()attempt to/ ( )threaten, injure or intimidate a witness or juror.
 28

                                  ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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   1       B. The Court bases the foregoing findings) on the following:
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  9                                                 VII.
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  11       A. IT IS THEREFORE ORDERED that the defendant be detained prior to trial.
  12       B. IT IS FURTHER ORDERED that the defendant be committed to the custody
  13           ofthe Attorney General for confinement in a corrections facility separate, to
  14           the extent practicable, from persons awaiting or serving sentences or being
  15            held in custody pending appeal.
  16       C. IT IS FURTHER ORDERED that the defendant be afforded reasonable
 17            opportunity for private consultation with counsel.
 18        D. IT IS FURTHER ORDERED that, on order of a Court ofthe United States
 19            or on request of any attorney for the Government,the person in charge ofthe
 20            corrections facility in which the defendant is confined deliver the defendant
 21            to a United States marshal for the purpose of an appearance in connection
 22             with a court proceeding.
 23

 24

 25

 26    DATED:                  ~Z
                                                        TED STA             MAGISTRATE JUDGE
 27
                                                        BRlANNA FULLER MIRCHEFF
 28

                              ORDER OF DETENTION AFTER HEARING(18 U.S.C. §3142(1))

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